Case 2:05-cv-02498-.]DB-dkv Document 6 Filed 07/25/05 Page 1 of 3 Page|D 1

m .,Y_,_Q%____M
IN THE UNITED STATES DISTRICT COURT

FOR THE wESTERN DISTRICT OF TENN
WESTERN DIVISION E`ég%l- 25 AH 62 142

 

h HDMSMlDUD
JOHN wADE BURROW, Individually, and WDOFTN,MEM’|'$
on behalf of his wife, Susan Burrow,
Individually and SUSAN SAMMONS BURROW,
Individually, and on behalf of her husband,
John Burrow
Plaintiffs,
vs. NO. 05-2498 Mt/v

JURY DEMANDED
CITY 0F MEMPHIS, et al.,

Defendants.

 

ORDER ON MOTION FOR EXTENSION OF TIME

 

Before the Court is Defendant Williams’ motion for an
extension of time to respond. For good cause shown the Defendant
is granted an extension of time to respond or otherwise plead up
to and including August 31, 2005;

. <sz"
IT IS SO ORDERED this day o , 2005.

dla/el V//< Zéd[’/yé

UNITED STATES DISTRICT JUDGE

Thrs document entered on the docket sheet tn compffance
with Rula 58 and/or 79(a) FRCP on ' '

 

Case 2:05-cv-02498-.]DB-dkv Document 6 Filed 07/25/05 Page 2 of 3 Page|D 2

CERTIFICATE OF SERVICE
I hereby certify that a copy of the foregoing Pleading
has been served upon Craig V. Morton Attorney at Law 20% ' gm
' " l M\( 1‘¢-“'\`$°1“'\4

Jefferson Avenue, Suite 725, Memphis, Tennessee 38103 by U.S.

mail, postage prepaid, this §Ll day of July, 2005.

JEAQ E. MARKOWITZ M

   

UN1TED TATS 11)TRICT COURT - ESTRNE DISTCR1T oFT1\1NEESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CV-02498 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

 

 

.1 immy Moore

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US DISTRICT COURT

